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EXHIBIT 1
THREE‐WAY COMPARISON BETWEEN THE INFRINGING PRODUCTS, THE PATENTS‐IN‐ISSUE
AND THE PURPORTED CLOSEST PRIOR ART.

         The ’D723 Patent Compares To Gyroor Products A Through D

    Table 1-1: Comparison of the ’D723 Patent to the Gyroor Products A through D, in View of
    the ’D906 Patent




                 Gyroor Product A1                                Gyroor Product B2




                 Gyroor Product C3                                Gyroor Product D4




                               FIG. 3 of the prior art (’D906 Patent)


1
  Sold by at least Defendants: Gyroor (Gyroor.com; gyroorboard.com); Gaodeshang‐US;
Gyroshoes; HGSM; Urbanmax; Jiangyou‐US; Gyroor‐US
2
  Sold by at least Defendants: Gyroor (Gyroor.com; gyroorboard.com); Gaodeshang-US;
3
  Sold by at least Defendants: Gyroor-US, Jiangyou-US; and Gyroor (Gyroor.com;
gyroorboard.com);
4
  Sold by at least Defendants Fengchi-US; Gyroor (Gyroor.com; gyroorboard.com);
                                               1
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Table 1-2: Comparison of the ’D723 Patent to the Gyroor Products A through D, in View
of the ’D906 Patent




                              FIG. 3 of the ’D723 patent




           Gyroor Product A
                                                           Gyroor Product B




           Gyroor Product C                                Gyroor Product D




                         FIG. 2 of the prior art (’D906 Patent)




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Table 1-3: Comparison of the ’D723 Patent to the Gyroor Products A through D, in View
of the ’D906 Patent




                               FIG. 2 of the ’D723 patent




            Gyroor Product A                                Gyroor Product B




            Gyroor Product C
                                                            Gyroor Product D




                         FIG. 3 of the prior art (’D906 Patent)




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Table 1-4: Comparison of the ’D723 Patent to the Gyroor Products A through D, in View
of the ’D906 Patent




                                FIG. 6 of the ’D723 patent




             Gyroor Product A
                                                             Gyroor Product B




             Gyroor Product C                                Gyroor Product D




                         FIG. 4 of the prior art (’D906 Patent)




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Table 1-5: Comparison of the ’D723 Patent to the Gyroor Products A through D, in View
of the ’D906 Patent




                               FIG. 5 of the ’D723 patent




            Gyroor Product A
                                                            Gyroor Product B




            Gyroor Product C                                Gyroor Product D




                         FIG. 5 of the prior art (’D906 Patent)




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In the eyes of the ordinary observer, the claimed design of the ‘723 is substantially the same as
the overall visual impression presented by the Accused Products. Unlike the ‘906 Patent, the
claimed design of the ‘723 Patent and the Accused Products share the same overall impression
and have an integrated ‘hourglass’ body with a relatively flat surface across the top of the main
body, arched covers over the wheel area, larger radii on the front and back of the underside,
and elongated light panels on the front surface.

In the eyes of the ordinary observer, the claimed design of the ‘723 is substantially the same as
the visual impression presented by the Accused Products. Also, the Accused Products are closer
to the claimed design of the ‘723 Patent than to the ‘906 Patent.




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     The ’D256 Patent Compares To Gyroor Products A Through D
Table 2-1: Comparison of the ’D256 Patent to the Gyroor Products A through D, in View
of the ’D906 Patent




                               FIG. 1 of the ’D256 patent




            Gyroor Product A                                Gyroor Product B




            Gyroor Product C                                Gyroor Product D




                         FIG. 3 of the prior art (’D906 Patent)




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Table 2-2: Comparison of the ’D256Patent to the Gyroor Products A through D, in View
of the ’D906 Patent




                              FIG. 3 of the ’D256 patent




           Gyroor Product A
                                                           Gyroor Product B




           Gyroor Product C                                Gyroor Product D




                         FIG. 2 of the prior art (’D906 Patent)




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Table 2-3: Comparison of the ’D256 Patent to the Gyroor Products A through D, in View
of the ’D906 Patent




                               FIG. 2 of the ’D256 patent




            Gyroor Product A                                Gyroor Product B




            Gyroor Product C                                Gyroor Product D




                         FIG. 3 of the prior art (’D906 Patent)




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Table 2-4: Comparison of the ’D256 Patent to the Gyroor Products A through D, in View
of the ’D906 Patent




                                FIG. 6 of the ’D256 patent




             Gyroor Product A
                                                             Gyroor Product B




             Gyroor Product C
                                                             Gyroor Product D




                         FIG. 4 of the prior art (’D906 Patent)




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 Table 2-5: Comparison of the ’D256 Patent to the Gyroor Products A through D, in View
 of the ’D906 Patent




                                   FIG. 5 of the ’D256 patent




               Gyroor Product A
                                                                Gyroor Product B




               Gyroor Product C                                 Gyroor Product D




                              FIG. 5 of the prior art (’D906 Patent)


In the eyes of the ordinary observer, the claimed design of the ‘256 is substantially the same as
the overall visual impression presented by the Accused Products. Unlike the ‘906 Patent, the
claimed design of the ‘256 Patent and the Accused Products share the same overall impression
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and have an integrated ‘hourglass’ body with a relatively flat surface across the top of the main
body, arched covers over the wheel area, larger radii on the front and back of the underside,
and elongated light panels on the front surface.

In the eyes of the ordinary observer, the claimed design of the ‘256 is substantially the same as
the visual impression presented by the Accused Products. Also, the Accused Products are closer
to the claimed design of the ‘256 Patent than to the ‘906 Patent.




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      The ’D195 Patent Compares To Gyroor Products A Through D
Table 3-1: Comparison of the ’D195 Patent to the Gyroor Products A through D, in View
of the ’D906 Patent




                                FIG. 1 of the ’D195 patent




             Gyroor Product A                                Gyroor Product B




             Gyroor Product C                                Gyroor Product D




                          FIG. 3 of the prior art (’D906 Patent)




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Table 3-2: Comparison of the ’D195 Patent to the Gyroor Products A through D, in View
of the ’D906 Patent




                              FIG. 3 of the ’D195 patent




           Gyroor Product A
                                                           Gyroor Product B




           Gyroor Product C                                Gyroor Product D




                         FIG. 2 of the prior art (’D906 Patent)




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Table 3-3: Comparison of the ’D195 Patent to the Gyroor Products A through D, in View
of the ’D906 Patent




                               FIG. 2 of the ’D195 patent




            Gyroor Product A                                Gyroor Product B




            Gyroor Product C                                Gyroor Product D




                         FIG. 3 of the prior art (’D906 Patent)




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Table 3-4: Comparison of the ’D195 Patent to the Gyroor Products A through D, in View
of the ’D906 Patent




                                FIG. 6 of the ’D195 patent




             Gyroor Product A
                                                             Gyroor Product B




             Gyroor Product C                                Gyroor Product D




                         FIG. 4 of the prior art (’D906 Patent)




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 Table 3-5: Comparison of the ’D195 Patent to the Gyroor Products A through D, in View
 of the ’D906 Patent




                                   FIG. 5 of the ’D195 patent




               Gyroor Product A
                                                                Gyroor Product B




               Gyroor Product C                                 Gyroor Product D




                              FIG. 5 of the prior art (’D906 Patent)


In the eyes of the ordinary observer, the claimed design of the ‘195 is substantially the same as
the overall visual impression presented by the Accused Products. Unlike the ‘906 Patent, the
claimed design of the ‘195 Patent and the Accused Products share an integrated ‘hourglass’
body with many horizontal styling lines across the body and a relatively flat surface across the


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top, arched covers over the wheel area, larger radii on the front and back of the underside.
Unlike any of the prior art the foot plates narrow as they extend toward the center.

In the eyes of the ordinary observer, the claimed design of the ‘195 is also substantially the
same as the visual impression presented by the Accused Products. Also, the Accused Products
are closer to the claimed design of the ‘195 Patent than to the ‘906 Patent.




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      The ’D112 Patent Compares To Gyroor Products B And D
Table 4-1: Comparison of the ’D112 Patent to the Gyroor Products B and D, in View of
the ’D906 Patent




                               FIG. 1 of the ’D112 patent




                                   Gyroor Product B




                                   Gyroor Product D




                          FIG. 3 of the prior art (’D906 Patent)




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Table 4-2: Comparison of the ’D112 Patent to the Gyroor Products B and D, in View of
the ’D906 Patent




                              FIG. 3 of the ’D112 patent




                                  Gyroor Product B




                                  Gyroor Product D




                         FIG. 2 of the prior art (’D906 Patent)




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Table 4-3: Comparison of the ’D112 Patent to the Gyroor Products B and D, in View of
the ’D906 Patent




                              FIG. 2 of the ’D112 patent




                                  Gyroor Product B




                                  Gyroor Product D




                         FIG. 3 of the prior art (’D906 Patent)




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Table 4-4: Comparison of the ’D112 Patent to the Gyroor Products B and D, in View of
the ’D906 Patent




                              FIG. 6 of the ’D112 patent




                                  Gyroor Product B




                                  Gyroor Product D




                         FIG. 4 of the prior art (’D906 Patent)




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 Table 5-5: Comparison of the ’D112 Patent to the Gyroor Products B and D, in View of
 the ’D906 Patent




                                   FIG. 5 of the ’D112 patent




                                       Gyroor Product B




                                       Gyroor Product D




                              FIG. 5 of the prior art (’D906 Patent)

In the eyes of the ordinary observer, the claimed design of the ‘112 is substantially the same as
the overall visual impression presented by the Accused Products. Unlike the ‘906 Patent, the
claimed design of the ‘112 Patent and the Accused Products share an integrated ‘hourglass’
body with many lines angling across the body and a relatively flat surface across the top, arched


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covers over the wheel area, larger radii on the front and back of the underside. Unlike any of
the prior art the foot plates stretch across almost the full width of main body.

In the eyes of the ordinary observer, the claimed design of the ‘112 is also substantially the
same as the visual impression presented by the Accused Products Gyroor B and Gyroor D,
which are also closer to the claimed design of the ‘112 Patent than to the cited prior art of the
‘112 Patent.




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